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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA


v.                                                          NO: 4:09CR00122-02 JLH

SYLVESTER THOMAS


                             DISMISSAL OF INDICTMENT


      Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure and by leave

of Court endorsed hereon, the United States Attorney for the Eastern District of Arkansas

hereby dismisses the above-styled indictment against the named defendant only.

                                               JANE DUKE
                                               United States Attorney


                                               /s/ Edward O. Walker
                                               Edward O. Walker
                                               Assistant U.S. Attorney
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       Leave of Court is granted this   5.±h day of ~A'-. :Ipl:<-'r. :.:. il        , 2010 for the filing of

the foregoing dismissal of indictment.
